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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

   UNITED STATES OF AMERICA,                  Case No. 05-CR-20002-BC
                                              HONORABLE ROBERT CLELAND
   vs.

   D-1 GARY J. THEUNICK
   D-2 FREDERICK A. MACKINNON
   D-3 MAXWELL LEE GARNETT
   Stephen J. Murphy (P58137)                        David M. McCleary (P36290)
   United States Attorney                            Attorney for Defendant Theunick
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                    MOTION FOR DEPARTURE AND/OR VARIANCE

          NOW COMES the Defendant, Gary J. Theunick, by and through his attorneys,
   David M. McCleary and William H. Van Dusen, Jr. and hereby requests the Court to
   depart and/or grant a variance from the applicable sentencing guidelines in this matter
   based upon the brief attached hereto.
                                              S/ David M. McCleary
   January 25, 2008                          DAVID M. MCCLEARY (P36290)
                                              Attorney for Gary J. Theunick

   January 25, 2008                           S/William H. Van Dusen, J.
                                              WILLIAM H. VAN DUSEN, JR. (P23704)
                                              Attorney for Gary J. Theunick
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                             BRIEF IN SUPPORT OF MOTTION

          Under the sentencing guidelines § 5K2.0 (a) (4) specifically allows this Court to

   look at the offender characteristics contained in § 5H1.1 through 5H1.12 in considering

   whether the Court will grant a departure in a particular case. Defendant Theunick

   believes that a number of the factors under § 5H would mitigate in favor of a departure in

   this situation. Mr. Theunick is a man in poor physical condition who may not be able to

   withstand the riggers of a prison sentence. He has significant health problems, including

   severe and poorly managed high blood pressure problems which requires him to take

   multiple medications in order to sustain himself on a daily basis.         Considering the

   precarious physical condition of Mr. Theunick he would argue that home confinement

   would be as efficient as incarceration in a penal institution and likely less costly. This

   argument is made pursuant to 5H1.1 and is made in conjunction with § 5H1.4 wherein

   the physical condition of the Defendant may be taken into consideration. As the Court

   was well aware of during the course of the Trial in this matter Mr. Theunick had

   difficulty sitting for long periods of time. His physical limitations could cause him

   difficulty if he was incarcerated in a penal institution. It should be noted that due to Mr.

   Theunick’s physical limitations and his age the sentence in the guideline range would be

   unequal to a same sentence for a younger Defendant which should be taken into

   consideration by this Court. See US v O’Brien 950 F 2nd 969 (5th Circuit 1991).



   Under § 5H1.5 Defendant Theunick believes that this Court should take into

   consideration his employment record. Mr. Theunick served as the Ogemaw County
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   Prosecutor Chief Assistant Prosecutor and previously had been a police officer for in

   excess of 20 years in the mid-Michigan area, serving much of his time in an undercover

   investigative capacity in the war on drugs. Aside from the matters which lead him before

   this Court he performed admirably in his job and could present to the Court numerous

   references as to what a public servant he was, and that he had an absolutely unblemished

   record.

   The Court should take into consideration the unusual nature of this particular offense

   wherein Thuenick specifically called ATF and got clearance as to the transfers and

   further the Attorney General’s Office indicated that while the possession of these

   weapons may have been a technical offense they did not believe that there was any intent

   by any of the parties to commit a criminal act.

   It should also be noted that Mr. Theunick has lost his license to practice law as a result of

   these charges which is not adequately reflected in the guideline calculations and therefore

   should be taken in consideration under § 5H1.5.

   5H1.11 refers to public service and other good works performed by the Defendant and it

   should be noted the public service that Mr. Theunick provided to the citizens of Michigan

   when he was both a Police Officer and Assistant Prosecutor. While Defendant Theunick

   recognizes that any one of these specific offender characteristics under § 5H would not

   result in a departure in and of itself the combination of those outlined above could allow

   this Court to depart from the sentencing guideline range as contained in Mr. Theunick’s

   Pre-Sentence Report. Defendant Theunick believes that under § 5K2.0 (a) (4) that the

   combination of these factors fulfill the exceptional degree requirement to allow any

   downward departure of the guidelines.
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   Additionally Mr. Theunick would refer this Court to the Supreme Court decision in Coon

   v. United States 518 U.S.81, 116 S CT 2035, 135 LED 2nd 392 (1996) wherein a

   downward departure was affirmed because of the susceptibility to abuse in prison. It

   cannot be minimized that Mr. Theunick for almost 30 straight years was involved in

   putting dangerous criminals in the prison system and on occasion even assisted the

   Federal Government in convicting prisoners with cooperation and referrals to the Federal

   system. As a consequence Mr. Theunick argues to this Court that if he was given a

   prison sentence that he would be subject to extreme vulnerability within the prison

   system because of his past as a Police Officer and Prosecutor. In Coon v. United States,

   Supra the officer’s who beat Rodney King were granted a downward departure just

   because of their positions as police officers so it is not unreasonable for Defendant

   Theunick to request such a departure in this particular case.

          Prior to United States v. Booker 543 U.S. 220 (2005) the sentencing guidelines

   were mandatory. After the Booker decision the sentencing guidelines are now advisory

   and the Court may vary from the guidelines based upon the factors in 18 U.S.C. §3553.

   Trial Courts now have much more discretion in individualizing a sentence for a particular

   Defendant.

   As it was indicated by The United States Supreme Court in Gall v. United States, 128 S.

   Ct. 586 (2007) the sentencing Court must first correctly calculate the applicable guideline

   range and then the sentencing Judge should consider all of the factors of §3553 (a) to

   determine the appropriate sentence. Gall supra indicated that they no longer require

   extraordinary circumstances to sentence outside the guideline range. The 8th Circuit in
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   United States v. Lehmann, No. 06-3597 (8th Cir. Jan. 17, 2008) specifically found that

   even though the guideline range was 37 to 46 months’ found that a downward departure

   or variance to a sentence of probation was permissible if the Court found that the factors

   of § 3553 (a) justified such a departure or variance.

   There are seven factors in 18 U.S.C. § 3553 which the sentencing Court should

   specifically look at in determining an individualized sentence for a Defendant.

   Under 18 U.S.C. § 3553 (a) (1) the Court should look at the nature and circumstances of

   the offense and the history and characteristics of the Defendant.         It is Defendant

   Theunick’s position that such analysis would mitigate against the guideline sentence. It

   should be noted that Defendant Theunick is a retired police officer and prosecutor, and

   has never previously had any legal difficulties.

   Under 18 U.S.C. § 3553 (a) (2) an analysis of the factors contained therein could also

   mitigate against the guideline sentence with regards to Defendant Theunick.          With

   regards to deterrence the ATF agents testified that a Prosecutor’s Office had never

   purchased these items before and therefore there is no need to deter others from

   committing a crime similar to Mr. Theunick’s. With regards to protecting the public,

   considering Mr. Theunick’s past and the nature of the offense the Defendant poses

   absolutely no danger to the public if he were granted probation in this matter. Lastly

   under § (2) the Court should look at rehabilitation. If the Court does so there is no need

   for any educational, vocational training or other correctional treatment for Mr. Theunick.

   It is therefore argued that the analysis under 18 U.S.C. § 3553 (a) (2) also would mitigate

   against the guideline sentence in this matter.
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   Based upon the departure arguments and the variance arguments pursuant to 18 U.S.C. §

   3553 Defendant Theunick respectfully requests a departure and/or variance of the

   guidelines and for the Court to grant him home confinement or probation in this matter.



                                               RESPECTFULLY SUBMITTED,

                                               S/David M. McCleary
                                               DAVID M. MCCLEARY (P36290)
                                               Attorney for Gary J. Theunick

                                               S/William H. Van Dusen, Jr.
                                               WILLIAM H. VAN DUSEN, JR. (P23704)
                                               Attorney for Gary J. Theunick
